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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           JUSTIN LEWIS,
                                   7                                                        Case No. 16-cv-00749-JCS
                                                        Plaintiff,
                                   8
                                                 v.                                         ORDER GRANTING DEFENDANT’S
                                   9                                                        MOTION TO TRANSFER VENUE
                                           SOUTHWEST AIRLINES CO.,
                                  10                                                        Re: Dkt. No. 9
                                                        Defendant.
                                  11

                                  12   I.       INTRODUCTION
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                                  13            This is a putative class action alleging that Defendant Southwest Airlines Co.

                                  14   (―Southwest‖) improperly procures background checks of employment applicants during its hiring

                                  15   process. Plaintiff Justin Lewis, a former Southwest employee, specifically alleges that Southwest

                                  16   procured a background check about him without doing the following: (1) providing him with

                                  17   proper notice; (2) properly receiving his authorization; or (3) informing him of his statutory rights.

                                  18   Lewis resides in the Central District of California. Southwest, a Texas-registered corporation

                                  19   headquartered in Dallas, now moves to transfer venue to the Northern District of Texas pursuant to

                                  20   28 U.S.C. § 1404(a). The Court finds that the Motion is suitable for determination without oral

                                  21   argument. The hearing scheduled for June 10, 2016, is vacated. For the reasons stated below, the

                                  22   Motion is GRANTED.1

                                  23   II.      BACKGROUND
                                  24            A.    State Court Proceedings and Removal to This Court
                                  25            Lewis filed a Complaint in California Superior Court, County of Alameda, on January 12,

                                  26   2016, claiming that Southwest routinely violates federal and state laws when it procures

                                  27
                                       1
                                  28    The parties have consented to the jurisdiction of the undersigned magistrate judge pursuant to 28
                                       U.S.C. § 636(c).
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                                   1   background checks during its hiring process. Notice of Removal (―NOR,‖ dkt. 1) Ex. 1

                                   2   (―Compl.‖). Lewis specifically alleges that, when he applied to work for Southwest in January

                                   3   2015, Southwest failed to notify him properly of and request his authorization for the background

                                   4   check of his credit, character, or personal life that it subsequently procured. Id. ¶¶ 25–28, 52–54,

                                   5   70–73. Lewis also alleges that Southwest failed to inform him of his federal statutory rights as to

                                   6   that background check. Id. ¶¶ 43, 45.

                                   7          Claiming that those actions violate the Fair Credit Reporting Act (―FCRA‖), 15 U.S.C.

                                   8   §§ 1681 et seq., Lewis seeks to represent a nationwide class of individuals who applied to work

                                   9   for Southwest. Compl. ¶ 11. Lewis also seeks to represent two subclasses, each composed of

                                  10   individuals who applied to work for Southwest in California. Id. ¶ 2. One putative subclass is

                                  11   composed of individuals whose rights were allegedly violated under the California Investigative

                                  12   Consumer Reporting Agencies Act (―ICRAA‖), Cal. Civ. Code §§ 1786 et seq.; the other, under
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                                  13   the California Consumer Credit Reporting Agencies Act (―CCRAA‖), Cal. Civ. Code §§ 1785 et

                                  14   seq. Compl. ¶ 2.

                                  15          Lewis‘s claims focus on three allegations: (1) Southwest procures a background check of

                                  16   each person who applies to work for it; (2) Southwest fails to use a stand-alone document to notify

                                  17   each job applicant that the background check will be performed; and (3) Southwest fails to use a

                                  18   stand-alone document to request authorization from each job applicant for the background checks.

                                  19   Id. ¶¶ 25–37, 52–60, 70–75.2 Lewisalso asserts that Southwest fails to adequately inform its job

                                  20   applicants of their rights as required by FCRA when requesting their authorization for the

                                  21   background checks. Id. ¶¶ 42–45.

                                  22          Under 28 U.S.C. § 1441(a), Southwest removed this case from state court to this district on

                                  23   February 12, 2016. See NOR.

                                  24          B.    Southwest’s Motion to Transfer Venue
                                  25          Southwest filed its Motion to Transfer Venue on March 18, 2016, seeking transfer to the

                                  26
                                  27   2
                                        Lewis also acknowledges that, under FCRA, notice and authorization can be contained in the
                                  28   same document, but avers that Southwest impermissibly includes information unrelated to notice
                                       and authorization in its background check authorization form. Compl. ¶ 30.
                                                                                       2
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                                   1   Northern District of Texas. Mot. to Transfer Venue (―Mot.,‖ dkt. 9). Southwest contends that

                                   2   transfer is appropriate ―because Texas is where the corporate decisions regarding [Southwest]‘s

                                   3   background check process were made, where the bulk of the pertinent documents and electronic

                                   4   evidence is stored, and where the majority of the witnesses are located.‖ Mot. at 1. Southwest

                                   5   also contends that Lewis‘s choice of forum should be given little deference because he seeks to

                                   6   represent a nationwide class, he has no connection to this district, and the nationwide class he

                                   7   purports to represent is composed of relatively few Californians. Id.

                                   8          Opposing the motion, Lewis offers several arguments as to why it should be denied:

                                   9   (1) Southwest has a field office in the district; (2) Lewis and his counsel would suffer

                                  10   inconvenience and expense from transfer; (3) his state law claims give California a local interest in

                                  11   the case; and (4) this district has more familiarity with California laws than the Northern District

                                  12   of Texas. Opp‘n (Dkt. 10) at 1–2, 6–8, 9, 13–14, 16–17. Lewis also emphasizes that this case will
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                                  13   primarily utilize written discovery and require minimal witness testimony because ―the crux of

                                  14   this case is the content of the disclosure and authorization forms that putative class members were

                                  15   required to sign.‖ Id. at 2.

                                  16          Alternatively, Lewis requests that this Court transfer the case to the Central District of

                                  17   California. Id. at 17–18. He contends that the Central District of California is more appropriate

                                  18   than the Northern District of Texas because he resides there, it would be closer for particular

                                  19   witnesses, and it has a localized interest. Id. This Court first considers Southwest‘s Motion before

                                  20   turning to Lewis‘s alternative request.

                                  21   III.   ANALYSIS
                                  22          A.    Legal Standard
                                  23          A case may be transferred ―[f]or the convenience of parties and witnesses, in the interest of

                                  24   justice,‖ to ―any other district . . . where it might have been brought[.]‖ 28 U.S.C. § 1404(a).

                                  25   There are two prongs to this analysis. First, the Court must conclude that venue is proper in the

                                  26   transferee district. Wireless Consumers Alliance, Inc. v. T-Mobile USA, Inc., No. 03-3711 (MHP),

                                  27   2003 WL 22387598, at *1 (N.D. Cal. Oct. 14, 2003). The movant bears the burden of proving this

                                  28   prong. Commodity Futures Trading Comm’n v. Savage, 611 F.2d 270, 279 (9th Cir. 1979). If the
                                                                                         3
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                                   1   first prong is satisfied, the court decides whether to grant or deny a motion to transfer, balancing

                                   2   ―the plaintiff‘s interest to freely choose a litigation forum against the aggregate considerations of

                                   3   convenience of the defendants and witnesses and the interest of justice.‖ Wireless Consumers,

                                   4   2003 WL 22387598, at *1; see also 28 U.S.C. § 1404(a). The ―district court has great discretion

                                   5   to adjudicate motions for transfer according to an individualized, case-by-case consideration of

                                   6   convenience and fairness.‖ Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th Cir. 2000)

                                   7   (quotation marks omitted). The factors a court may consider include:

                                   8                  (1) plaintiff‘s choice of forum; (2) convenience of the parties;
                                                      (3) convenience of the witnesses; (4) ease of access to the evidence;
                                   9                  (5) familiarity of each forum with the applicable law; (6) feasibility
                                                      of consolidation with other claims; (7) any local interest in the
                                  10                  controversy; and (8) the relative court congestion and time of trial in
                                                      each forum.
                                  11
                                       Royal Queentex Enters. Inc. v. Sara Lee Corp., No. C-99-4787 MJJ, 2000 WL 246599, at *2
                                  12
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                                       (N.D. Cal., March 1, 2000) (citing Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834,
 United States District Court




                                  13
                                       843 (9th Cir. 1986)).3 Weighing the relevant factors is a matter of ―the discretion of the trial
                                  14
                                       judge.‖ Ventress v. Japan Airlines, 486 F.3d 1111, 1118 (9th Cir. 2007). Transfer is not
                                  15
                                       appropriate under § 1404(a) where it ―would merely shift rather than eliminate the
                                  16
                                       inconvenience.‖ Decker Coal, 805 F.2d at 843.
                                  17
                                              ―‗Although great weight is generally accorded to a plaintiff‘s choice of forum, when an
                                  18
                                       individual . . . represents a class, the named plaintiff‘s choice of forum is given less weight.‘‖ Van
                                  19
                                       Slyke v. Capital One Bank, 503 F. Supp. 2d 1353, 1363 (N.D. Cal. 2007) (quoting Lou v. Belzberg,
                                  20
                                       834 F.2d 730, 739 (9th Cir. 1987)). A representative plaintiff‘s choice is ―still entitled to some
                                  21
                                       deference, even though diminished.‖ Id. ―Deference to a plaintiff‘s choice of forum is [also]
                                  22
                                  23
                                       3
                                  24     The Ninth Circuit has endorsed a partially-overlapping set of considerations as ―example[s]‖ of
                                       factors ―the court may consider‖ in determining whether to transfer a contract case: ―(1) the
                                  25   location where the relevant agreements were negotiated and executed, (2) the state that is most
                                       familiar with the governing law, (3) the plaintiff‘s choice of forum, (4) the respective parties‘
                                  26   contacts with the forum, (5) the contacts relating to the plaintiff‘s cause of action in the chosen
                                       forum, (6) the differences in the costs of litigation in the two forums, (7) the availability of
                                  27   compulsory process to compel attendance of unwilling non-party witnesses, and (8) the ease of
                                       access to sources of proof,‖ as well as ―the relevant public policy of the forum state, if any.‖
                                  28   Jones, 211 F.3d at 498–99. To the extent that these factors apply to the present case, the Court
                                       addresses them within the framework of the Royal Queentex factors.
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                                   1   ‗substantially reduced‘ where the plaintiff does not reside in the [chosen] venue.‖ Bite Tech, Inc.

                                   2   v. X2 Impact, Inc., No. C-12-5888 EMC, 2013 WL 871926, at *4 (N.D. Cal. Mar. 7, 2013)

                                   3   (quoting Williams v. Bowman, 157 F. Supp. 2d 1103, 1106 (N.D. Cal. 2001)). A court may

                                   4   disregard the plaintiff‘s chosen venue entirely if it is a result of forum-shopping. Italian Colors

                                   5   Rest. v. Am. Express Co., No. C-03-3719 SI, 2003 WL 22682482, at *4 (N.D. Cal. Nov. 10, 2003)

                                   6   (citing Alltrade Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 628 (9th Cir. 1991)).

                                   7          B.    This Case Could Have Been Filed in the Northern District of Texas
                                   8          This prong is satisfied because the Northern District of Texas has jurisdiction to hear the

                                   9   case and venue would be proper. The Northern District of Texas has original subject matter

                                  10   jurisdiction over FCRA. 28 U.S.C. § 1331. Southwest, the only defendant, is a Texas-registered

                                  11   corporation headquartered in the Northern District of Texas. NOR Ex. 6 (Conway Decl.) ¶ 2. The

                                  12   Northern District of Texas has personal jurisdiction over Southwest and venue in that district is
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                                  13   also appropriate. 28 U.S.C. §§ 1391(b)(1), (c)(2). Lewis does not dispute that he could have

                                  14   brought this action in the Northern District of Texas.

                                  15          C.    Relevant Considerations Weigh in Favor of Transfer to the Northern District of
                                                    Texas
                                  16
                                                    1. Lewis’s Choice of Forum Is Entitled to Minimal Deference
                                  17
                                              The first factor in the Royal Queentex analysis is Lewis‘s choice of forum. 2000 WL
                                  18
                                       246599, at *2. This factor, of course, favors denying transfer. The question here is the weight to
                                  19
                                       which Lewis‘s choice is entitled.
                                  20
                                              Normally, ―there is a strong presumption in favor of [a] plaintiff‘s choice of forum.‖ Id.;
                                  21
                                       see also Lou, 834 F.2d at 739. But that deference decreases where the plaintiff is not a resident of
                                  22
                                       his or her chosen forum, e.g., Carolina Cas. Co. v. Data Broadcasting Corp., 158 F. Supp. 2d
                                  23
                                       1044, 1048 (N.D. Cal. 2001), or where the plaintiff seeks to represent a nationwide class, e.g.,
                                  24
                                       Lou, 834 F.2d at 739. Both of those considerations apply here. Lewis, the sole named plaintiff,
                                  25
                                       resides in the Central District of California. See Opp‘n at 17–18. Lewis also seeks to represent a
                                  26
                                       nationwide class and two California subclasses. Compl. ¶¶ 10–18. Under such circumstances,
                                  27
                                       Lewis‘s ―choice of forum is entitled to minimal deference.‖ Ward v. Fluor Enters., Inc., No.
                                  28
                                                                                         5
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                                   1   C 10-04361 SBA, 2011 WL 778720, at *3–4 (N.D. Cal. Mar. 1, 2011).

                                   2          The weight afforded to a plaintiff‘s choice of forum may also be reduced where ―the

                                   3   relevant disputed acts supporting [the plaintiff‘s] theory of relief‖ occurred outside of the chosen

                                   4   forum. Carolina Cas. Co., 158 F. Supp. 2d at 1048; Bloom v. Express Servs. Inc., No. C 11-

                                   5   000009 CRB, 2011 WL 1481402, at *2 (N.D. Cal. Apr. 19, 2011). Lewis does not allege that he

                                   6   reviewed and submitted his job application in the Northern District of California or that

                                   7   Southwest‘s recruitment and hiring decisions emanated from this district. Rather, the record

                                   8   suggests that Lewis reviewed and submitted his employment application from the Central District

                                   9   of California; that he was recruited from the Districts of Arizona and Maryland; and that his

                                  10   application was reviewed in the Central District of California, District of Arizona, and Northern

                                  11   District of Texas. Beutler Decl. (Dkt. 9-5) ¶¶ 9–11, 14. Thus, the absence of material acts

                                  12   occurring within this district supports reducing the deference given to Lewis‘s forum choice.
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                                  13          The Court does not find forum shopping that would warrant disregarding Lewis‘s choice of

                                  14   forum entirely. There is no indication that Lewis has filed repeated, redundant lawsuits against

                                  15   Southwest in a way that suggests he has made efforts to draw a sympathetic judge or bypass an

                                  16   unfavorable decision. Cf. Italian Colors, 2003 WL 22682482, at *4. Likewise, Lewis has not

                                  17   indicated that he chose this forum to take advantage of favorable local rules. Cf. Marshall v.

                                  18   Monster Beverage Corp., No. 14-cv-02203-JD, 2014 WL 3870290, at *2 (N.D. Cal. Aug. 6, 2014)

                                  19   (according no deference where plaintiffs admitted to choosing a forum due to its outdated local

                                  20   rules). Rather, it appears that Lewis chose this forum because Southwest has significant

                                  21   connections to this district (as compared with the Central District) and he would prefer pursuing

                                  22   his ICRAA and CCRAA claims in California. Opp‘n at 7, 9.

                                  23          The Court therefore does not wholly disregard Lewis‘s choice of forum, but affords it

                                  24   minimal deference.

                                  25                2. Convenience of the Parties Favors Transfer
                                  26          No party to this case resides in the Northern District of California. Although Southwest

                                  27   has a regional office in Oakland, it is headquartered in the Northern District of Texas and its

                                  28   departments immediately relevant to this case operate from that location and the District of
                                                                                         6
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                                   1   Arizona. Beutler Decl. ¶¶ 2, 9–14. Courts in this district have transferred actions involving

                                   2   corporate defendants to the state where they are headquartered, see, e.g., Rabinowitz v. Samsung

                                   3   Elecs. Am., Inc., No. 14-cv-00801-JCS, 2014 WL 5422576, at *4–5, 9 (N.D. Cal. Oct. 10, 2014),

                                   4   including actions involving alleged FCRA violations, see, e.g., Roe v. Intellicorp Records, Inc.,

                                   5   No. 12-CV-02567-YGR, 2012 WL 3727323, at *3 (N.D. Cal. Aug. 27, 2012). Litigation in the

                                   6   Northern District of Texas would therefore be more convenient for Southwest.

                                   7           This Court does not discount the inconvenience to Lewis of litigating his case in the

                                   8   Northern District of Texas and affords the disparity in resources between the parties some

                                   9   consideration. Brackett v. Hilton Hotels Corp., 619 F. Supp. 2d 810, 820 (N.D. Cal. 2008)

                                  10   (―[W]hile ‗the parties‘ relative financial ability is not entitled to great weight,‘ it is a relevant

                                  11   consideration.‖). However, transfer would not impermissibly shift the burden from Southwest to

                                  12   Lewis. Cf. Decker Coal, 805 F.2d at 843 (holding that transfer should be denied if it merely shifts
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                                  13   rather than eliminates inconvenience). Lewis did not file in the Central District of California

                                  14   where he resides and litigation would presumably be most convenient for him. See Opp‘n at 17.

                                  15   Lewis‘s primary convenience associated with litigating in this district appears to derive from the

                                  16   proximity of his counsel, see Opp‘n 2, 6, 13–14, but it is well settled in this district that the

                                  17   location of counsel does not factor into whether a case should be transferred under 28 U.S.C.

                                  18   § 1404(a). See LightMed Corp. v. Ellex Medical Pty. Ltd., No. 13-cv-03933-WHO, 2013 WL

                                  19   6512720, at *2 (N.D. Cal. Dec. 12, 2013); Wilson v. Walgreen Co., No. C-11-2930 EMC,

                                  20   2011 WL 4345079, at *5 (N.D. Cal. Sept. 14, 2011) (collecting extensive authority from within

                                  21   this district that ―the location of plaintiff‘s counsel is not an appropriate factor for the Court to

                                  22   consider when deciding a motion to transfer‖ (citation omitted)).

                                  23           Lewis‘s intention to represent a nationwide class also affects consideration of this factor.

                                  24   On the one hand, ―[i]n putative class actions, courts routinely consider the location and

                                  25   concentration of putative class members in deciding motions to transfer.‖ Garlough v. Trader

                                  26   Joe’s Co., No. 15-cv-01278-TEH, 2015 WL 4638340, at *3 (N.D. Cal. Aug. 4, 2015); see also

                                  27   Roe, 2012 WL 3727323, at *3. Here, it is likely that many more members of the putative

                                  28   nationwide class reside in Texas or other states near Texas‘s Northern District: Southwest receives
                                                                                            7
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                                   1   more employment applications from residents of Texas than those of any other state (which is

                                   2   supported by the fact that Southwest is headquartered there) and many more applicants reside in

                                   3   Southern states near Texas. See Beutler Decl. ¶ 15.4

                                   4           On the other hand, ―the convenience of putative class members other than [Lewis] will

                                   5   become irrelevant if class certification is ultimately denied.‖ Garlough, 2015 WL 4638340, at *3.

                                   6   As a result, this Court discounts the weight given to the convenience of putative class members

                                   7   due to the risks of class certification being denied.

                                   8           Ultimately, transfer would substantially promote convenience for Southwest. Transfer

                                   9   would pose limited increased inconvenience to Lewis because he does not reside in this district or

                                  10   the proposed transfer district. Transfer would be more convenient for the putative nationwide

                                  11   class as a whole, but this consideration is given minimal weight. In sum, this factor supports

                                  12   transfer.
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                                  13                3. Convenience of Witnesses Favors Transfer
                                  14           In its motion, Southwest identified at least three party witnesses with knowledge relevant

                                  15   to this case. See Mot. at 8–10; see also Beutler Decl. ¶ 3. Two of those witnesses are current

                                  16   Southwest employees who reside and work in Dallas, Texas; another, an employee who resides

                                  17   and works in Phoenix, Arizona. Beutler Decl. ¶ 3.5

                                  18           Lewis has not identified any witnesses (other than himself). Lewis has contended that

                                  19   witness testimony should be unneeded in this case. Opp‘n at 2. Lewis cannot, however,

                                  20   unilaterally determine the scope of evidence. Southwest is entitled to present relevant witness

                                  21   testimony in its defense.

                                  22
                                  23   4
                                         Lewis disputes the facts regarding the location of employment applicants to which CJ Beutler
                                  24   attested in her declaration, specifically arguing that the time period framing her search was too
                                       short. Opp‘n at 10. Lewis fails to undercut the import of Beutler‘s statement. From February
                                  25   2014 to the time of Beutler‘s declaration, 31.8% of Southwest‘s job applicants were from Texas
                                       and another 18.4% were from Southern states near Texas. Beutler Decl. ¶ 14. During that time
                                  26   period, only 10.2% of applicants were from California. Id. These figures support the proposition
                                       that the Northern District of Texas would be the more convenient forum for members of the
                                  27   putative nationwide class.
                                       5
                                         Contrary to Lewis‘s contentions, see Opp‘n at 11–12, Southwest has sufficiently identified its
                                  28   key witnesses and their anticipated testimony for the purpose of ruling on this motion, see Roe,
                                       2012 WL 3727323, at *3.
                                                                                           8
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                                   1          Courts have recognized that convenience to non-party witnesses is important. See Jones,

                                   2   211 F.3d at 499. Southwest has identified four third-party corporations from whom witnesses

                                   3   could be sought, based in Georgia, Maryland, New York, and Texas. Mot. at 9; see also Beutler

                                   4   Decl. ¶¶ 4, 7, 11. The Northern District of Texas is the closer venue for those potential witnesses.

                                   5          Based on the location of Southwest‘s anticipated witnesses and Lewis‘s failure to identify

                                   6   any, transfer to the Northern District of Texas would be more convenient for anticipated witnesses.

                                   7   Thus, this factor supports transfer.

                                   8                4. Ease of Access to Evidence Marginally Favors Transfer
                                   9          Lewis‘s Complaint and the parties‘ moving papers indicate that the evidence in this case

                                  10   will substantially consist of documents. See Compl. ¶ 11; see also Opp‘n at 2, 11. All relevant

                                  11   evidence in Southwest‘s possession is located within or accessible from the Northern District of

                                  12   Texas. Beutler Decl. ¶ 6. Lewis has not identified any particular evidence located in this district.
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                                  13   Rather, he has argued that all documentary evidence could be made electronically available.

                                  14   Opp‘n at 15. In response, Southwest claims that it now lacks access to the electronic database that

                                  15   it used when many putative class members applied for employment. Reply at 12; see Beutler

                                  16   Decl. ¶ 6.

                                  17          Although Southwest may currently maintain paper records for many past employment

                                  18   applications, that evidence and all other documentary evidence could be made available in

                                  19   electronic form, which substantially negates any burden of transporting the evidence from one

                                  20   forum to another. Indeed, Southwest fails to indicate how and why digitizing its paper records

                                  21   would pose a more significant burden than producing those documents in hard copy. Thus, the

                                  22   location of evidence favors transfer; however, it is a factor that carries less weight.

                                  23                5. Familiarity with the Applicable Law Marginally Disfavors Transfer
                                  24          The parties dispute which court is better suited to apply the applicable law. Southwest

                                  25   argues that the Northern District of Texas is on equal footing with this district as to its familiarity

                                  26   with FCRA and capacity to apply ICRAA and CCRAA. Mot. at 14–15. Lewis argues that this

                                  27   Court is more familiar with California‘s ICRAA and CCRAA. Opp‘n at 6–7. Although there may

                                  28   be some merit to Lewis‘s argument that a district in California is more familiar with applying
                                                                                          9
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                                   1   California law, a number of courts have held that ―[f]ederal courts have an equal ability to address

                                   2   claims arising out of state law.‖ Bloom, 2011 WL 1481402, at *5. ―District courts regularly apply

                                   3   the law of states other than the forum state.‖ Turrett Steel Corp. v. Manuel Int’l. Inc., 612 F.

                                   4   Supp. 387, 390 (W.D. Pa. 1985). Thus, ―this factor is to be accorded little weight . . . because

                                   5   federal courts are deemed capable of applying the substantive law of other states.‖ Rindfleisch v.

                                   6   Gentiva Health Sys., Inc., 752 F. Supp. 2d 246, 261 (E.D.N.Y. 2010) (citation and internal

                                   7   quotation marks omitted). Although this Court may be a marginally better forum for Lewis‘s state

                                   8   law claims, this factor warrants minimal import.

                                   9                6. Consolidation of Claims Is Not Relevant
                                  10          Neither party has identified a similar case or claim that should be consolidated with this

                                  11   matter. This factor is therefore neutral.

                                  12                7. Texas’s Local Interest Predominates
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                                  13          ―The localized interest factor requires the court to consider the current and transferee

                                  14   forums‘ interests in having localized controversies decided at home.‖ Ctr. for Biological Diversity

                                  15   v. McCarthy, No. 14-cv-05138 WHO, 2015 WL 1535594, at *4 (N.D. Cal. April 6, 2015)

                                  16   (quotation marks omitted). Calling Texas ―the clear epicenter for this case,‖ Southwest argues that

                                  17   the Northern District of Texas has a predominant interest because Southwest is headquartered

                                  18   there and it employs many people who reside there. Mot. at 15. Southwest also points out that a

                                  19   small minority of putative nationwide class members are California residents and that Lewis‘s

                                  20   FCRA claims are ―the heart of this action.‖ Id. at 14. Lewis argues that California has great

                                  21   interest in protecting his rights and those of the putative California subclasses, which gives this

                                  22   forum some localized interest regardless of the fact that he resides in another district. Opp‘n 16–

                                  23   17 (citing McCarthy, 2015 WL 1535594, at *5).

                                  24          ―[W]hen the gravamen of the case involves federal law, a state law claim is usually not a

                                  25   significant consideration on a motion to transfer venue.‖ Hoefer v. U.S. Dep’t of Commerce,

                                  26   No. C 00 0918 VRW, 2000 WL 890862, at *3 (N.D. Cal. June 28, 2000). Although California

                                  27   certainly has some interest in protecting the rights of its citizens and hearing ICRAA and CCRAA

                                  28   claims against corporations operating within its borders, the weight of that interest is reduced by
                                                                                          10
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                                   1   Lewis‘s federal claims and the projected number of federal class members residing in Texas.

                                   2   Furthermore, ―cases in this District indicate that transferee forums also have an interest when the

                                   3   operative facts occurred in those forums, and that this interest outweighs California‘s interest in

                                   4   cases involving its citizens.‖ McCarthy, 2015 WL 1535594, at *5. As stated previously, none of

                                   5   the operative facts occurred in this district and many occurred in Texas and other locations beyond

                                   6   California‘s borders. Finally, ―[a]lthough [Southwest] conduct[s] business in California, [Texas]

                                   7   has an interest in deciding controversies involving businesses headquartered there, and that

                                   8   employ a substantial number of its citizens.‖ Bloom, 2011 WL 1481402, at *5 (holding that this

                                   9   interest favored transfer to the Western District of Oklahoma even on a claim brought to enforce

                                  10   the judgment of a California state court); see also Rabinowitz, 2014 WL 5422576, at *7–8.

                                  11   Southwest‘s principal place of business is Dallas, Texas, and it employs a significant number of

                                  12   individuals that are Texas residents. This factor therefore favors transfer.
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                                  13                8. Court Congestion Is Neutral
                                  14          Southwest requests judicial notice of statistics prepared by the Administrative Office of the

                                  15   Courts regarding the time to disposition of civil cases in the various district courts. Req. for

                                  16   Judicial Notice (Dkt. 9-1); Table: U.S. District Courts—Combined Civil and Criminal Federal

                                  17   Court Management Statistics (Dkt. 9-2 & 9-3).6 Judicial notice is appropriate as a matter of public

                                  18   record not reasonably in dispute. Fed. R. Evid. § 201(b). As Southwest argues, Mot. at 16, the

                                  19   statistics show that the median time from a case‘s filing to the start of trial is several months

                                  20   shorter in the Northern District of Texas than the Northern District of California, dkt. 9-2 & 9-3.

                                  21   The statistics also show that the median time from a case‘s filing to disposition is shorter in the

                                  22   Northern District of Texas, id., although Lewis argues that the difference is insignificant, Opp‘n at

                                  23   16. It is worth noting that the Northern District of Texas currently has many more pending cases

                                  24   relative to its number of judgeships. Dkt. 9-2 & 9-3. On balance, this factor is neutral.

                                  25                9. The Circumstances as a Whole Favor Transfer
                                  26          In sum, four of the eight Queentex factors weigh in favor of granting Southwest‘s Motion:

                                  27
                                       6
                                  28     Available at http://www.uscourts.gov/statistics/table/na/federal-court-management-
                                       statistics/2015/06/30-3.
                                                                                        11
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                                   1   convenience of the parties, convenience of the witnesses, access to evidence (a weak factor), and

                                   2   Texas‘s local interests. Factors supporting denial are Lewis‘s choice of forum and this district‘s

                                   3   comparative familiarity with California laws, but both factors are accorded little weight. The

                                   4   remaining factors are neutral.

                                   5           The factors recited above all serve the purpose of the statute: ―the convenience of parties

                                   6   and witnesses [and] the interest of justice.‖ 28 U.S.C. § 1404(a). A ―fundamental principle

                                   7   underpinning the § 1404(a) analysis is that litigation should proceed ‗in that place where the case

                                   8   finds its center of gravity.‘‖ McCormack v. Safeway Stores, Inc., No. C 12-4377 MEJ, 2012 WL

                                   9   5948965, at *4 (N.D. Cal. Nov. 28, 2012) (quoting Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389,

                                  10   413 (6th Cir. 1998)).

                                  11           This case focuses on an overarching question: whether Southwest‘s employment

                                  12   application process—which Southwest developed in and disseminated from the Northern District
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                                  13   of Texas—complied with federal and state statutory requirements specifically with respect to the

                                  14   procurement of applicant background checks. None of the operative allegations in Lewis‘s

                                  15   Complaint occurred in this district. Many lie beyond California‘s borders. The center of gravity

                                  16   for this case therefore lies in the Northern District of Texas.

                                  17           The cases upon which Lewis relies are distinguishable. For example, several involve a

                                  18   named plaintiff residing in this district and operative facts occurring here. See, e.g., Sonado v.

                                  19   Amerisave Mortg. Corp., No. C-11-1803 EMC, 2011 WL 2653565, at *4 (N.D. Cal. July 6, 2011);

                                  20   Holliday v. Lifestyle Lift, Inc., No. C 09-4995 RS, 2010 WL 3910143, at *6 (N.D. Cal. Mar. 29,

                                  21   2012); Rafton v. Rydex Series Funds, No. C 10-1171 CRB, 2010 WL 2629579, at *2–3 (N.D. Cal.

                                  22   June 29, 2010). Lewis fails to cite a case that counters the great weight of authority supporting

                                  23   transfer.

                                  24           The case most analogous to the present action is Roe, where the plaintiff brought a putative

                                  25   class action under FCRA in this district. Roe v. Intellicorp Records, Inc., No. 12-CV-02567-YGR,

                                  26   2012 WL 3727323, at *1 (N.D. Cal. Aug. 27, 2012). Upon the defendant‘s motion, Judge

                                  27   Gonzalez Rogers found that the following considerations supported transfer to the Northern

                                  28   District of Ohio: (1) the plaintiff did not reside in this forum and none of the operative allegations
                                                                                         12
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                                   1   underlying the plaintiff‘s claims occurred in this district; (2) the defendant had ―offered evidence

                                   2   that approximately 97 percent of the putative class of persons . . . reside outside of California‖;

                                   3   (3) the defendant‘s headquarters in the Northern District of Ohio made it a more convenient forum

                                   4   for the parties; (4) access to sources of proof would be easier in the Northern District of Ohio

                                   5   because the ―case-documents reflecting [the defendant‘s] corporate policies and procedures, as

                                   6   well as its primary computer servers,‖ were located there; and (5) the ―case involve[d] a

                                   7   potentially large class action award against a company headquartered in the Northern District of

                                   8   Ohio‖ while the plaintiff had only a limited connection to this district. Id. at *3; see also

                                   9   Rabinowitz, 2014 WL 5422576, at *3–9 (transferring a putative class action case to the District of

                                  10   New Jersey). Although there are differences between Roe and this action, its reasoning is sound

                                  11   and persuasive.

                                  12            This case lacks a meaningful connection to this district. The Northern District of Texas is
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                                  13   the most convenient and appropriate venue for litigating it.

                                  14            D.   Lewis’s Alternative Request for Transfer to the Central District of California
                                  15            In his Opposition, Lewis makes an alternative request: if this Court finds transfer

                                  16   appropriate—as it has—that it grant him transfer to the Central District of California. Opp‘n at

                                  17   17–18. Although Lewis did not request transfer through a noticed motion, a plaintiff may move to

                                  18   transfer venue under § 1404(a) and Southwest was afforded the opportunity to be heard on

                                  19   Lewis‘s transfer request in its Reply. See Reply at 13–14. This Court can also order transfer sua

                                  20   sponte. See, e.g., Berman v. Brown, No. 5:15-cv-03282-EJD, 2015 WL 4735522, at *2 (N.D. Cal.

                                  21   Aug. 10, 2015). The Northern District of Texas is the center of gravity for this case. Lewis‘s

                                  22   arguments for transfer to the Central District of California, see Opp‘n at 17–18, fail to overcome

                                  23   the factors supporting transfer to the Northern District of Texas.

                                  24   ///

                                  25   ///

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                                         Case 3:16-cv-00749-JCS Document 18 Filed 06/02/16 Page 14 of 14



                                       IV.    CONCLUSION
                                   1
                                              For the foregoing reasons, Southwest‘s Motion to Transfer Venue to the Northern District
                                   2
                                       of Texas is GRANTED.
                                   3
                                              IT IS SO ORDERED.
                                   4
                                       Dated: June 2, 2016
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                                                                                     ______________________________________
                                   6                                                 JOSEPH C. SPERO
                                                                                     Chief Magistrate Judge
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Northern District of California
 United States District Court




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